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                                                               CLERK
                                                         U.S. DISTRICT COURT


                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH


  SECURITIES AND EXCHANGE                               ORDER GRANTING NINTH
  COMMISSION,                                        INTERIM FEE APPLICATION FOR
                                                       RECEIVER AND RECEIVER’S
                        Plaintiff.
                                                     PROFESSIONALS FOR SERVICES
         V.                                           RENDERED FROM APRIL 1, 2020,
                                                         THROUGH JUNE 30, 2020
  TRAFFIC MONSOON, LLC, and
  CHARLES DAVID SCOVILLE,                                       2:16-cv-00832-JNP

                        Defendants.                        The Honorable Jill N. Parrish



        The matter before the Court is the Ninth Interim Fee Application for Receiver and

 Receiver’s Professionals for Services Rendered from April 1, 2020, through June 30, 2020 (the

 “Fee Application”) [Docket No. 270] filed on September 24, 2020 by Peggy Hunt, the court-

 appointed Receiver (the “Receiver”), seeking approval of fees and expenses incurred by the

 Receiver; the Receiver’s counsel, Dorsey & Whitney LLP (“Dorsey”) and Greenberg Traurig

 LLP (“Greenberg”); and the Receiver’s accountants, Berkley Research Group (“BRG”), for the

 period of April 1, 2020, through June 30, 2020 (the “Application Period”), and authorization to

 pay all allowed fees and expenses from funds of the Receivership Estate on an interim basis. No

 objections to the Fee Application have been filed. The Court has reviewed the Fee Application,

 all Exhibits thereto, the record in this case, and applicable law. The Court GRANTS the fee

 application.

        IT IS HEREBY ORDERED that:

        (1)     The Fee Application is APPROVED;

         (2)    The fees and expenses of the Receiver and her professionals Dorsey, Greenberg,

and BRG are ALLOWED on an interim basis as set forth in the Fee Application;

        (3)     The Receiver is ALLOWED a claim in the total amount of $9,136.35 for fees;
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        (4)     Dorsey is ALLOWED a claim in the amount of $6,214.00 for fees and

 $20.00 for reimbursement of out-of-pocket expenses, for a total sum of $6,234.00;

        (5)      Greenberg is ALLOWED a claim in the amount of $21,229.50 for fees and

 $40.84 for reimbursement of out-of-pocket expenses, for a total sum of $21,270.34;

         (6)    BRG is ALLOWED a claim in the amount of $11,860.00 for fees and $222.65

for reimbursement of out-of-pocket expenses, for a total sum of $12,082.65; and

        (7)     The Receiver is AUTHORIZED to pay all fees and expenses as allowed herein

 to the extent that they have not been paid pursuant to the Order Establishing Administrative

 Expense Payment Procedures.

        DATED October 30, 2020.



                                                     BY THE COURT:




                                                     The Honorable Jill N. Parrish
                                                     United States District Court




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